Case 2:24-mJ-12280-JBC Document11 Filed 11/19/24 Page 1of 3 PagelD: 45
UNITED STATES DISTRICT COURT

for the District of New Jersey

United States of America

ORDER MODIFYING
v. CONDITIONS OF RELEASE

REMINGTON GOY OGLETREE
Defendant

Case Number: 24-12280

ITIS ORDERED on this _19th_ day of _ Novembey 2024 that the release of the defendant is subject to the following conditions:

(1) The defendant must not violate any federal, state or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § 14135a.

(3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
any change of address and/or telephone number,

(4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

Release on Bond

Bail be fixed at $ 50,000 and the defendant shall be released upon:

Executing an unsecured appearance bond with co-signor(s) ;

[| Executing a secured appearance bond with co-signor(s) — ,and (_ ) depositing
in cash in the registry of the Court % of the bail fixed; and/or| execute an agreement to forfeit designated property
located at . Local Criminal Rule 46.1(d)(3) waived/not waived by the
Court.

[-_] Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu thereof;
CJ

Additional Conditions of Release

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the appearance of the
person as required and the safety of any other person and the community. It is further ordered that the release of the defendant is subject to the condition(s) listed below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:

Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement personnel,
including but not limited to, any arrest, questioning or traffic stop.

{__} The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any witness,
victim, or informant; not retaliate against any witness, victim or informant in this case.

(-] The defendant shall be released into the third party custody of

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure

the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
defendant violates any conditions of release or disappears.

Custodian Signature: Date:

DNJ-CR-019((REV. 1/09}(modified AO-199) Page 1
Case 2:24-mJ-12280-JBC Document11 Filed 11/19/24 Page 2 of 3 PagelD: 46

The defendant’s travel is restricted tof | New Jersey Other CD/CA, ND/TX, and New Jersey for court purposes only

unless approved by Pretrial Services (PTS).
Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
[__] Substance abuse testing and/or treatment as directed by PTS. Treatment may include inpatient treatment.

Surrender/Do not possess a firearm, destructive device, or other dangerous weapons. All firearms in any home in which the defendant resides shall be removed

within 24 hours and verification provided to PTS, The defendant shall also surrender all firearm purchaser's identification cards and permits to PTS

[Vv] Mental health testing/treatment as directed by PTS.

Abstain from the use of alcohol.
¥_| Maintain current residence or a residence approved by PTS.
Maintain or actively seek employment pre-approved by PTS.
No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.

Have no contact with the following individuals:
Defendant is to participate in one of the following home confinement program components and abide by all the
requirements of the program which [_|will or (_) will not include electronic monitoring or other location
verification system.

(i) Curfew. You are restricted to your residence every day (__]) from to , or
as directed by the pretrial services office or supervising officer; or

[| (ii) Home Detention. You are restricted to your residence at all times except for the following:

. education; religious services; medical, substance abuse, or mental health treatment; attorney

visits; court appearances; court-ordered obligations; or other activities pre-approved by the
pretrial services office or supervising officer. Additionally, employment[ | is permitted [is
not permitted.

[| (iti) Home Incarceration, You are restricted to your residence under 24 hour lock-down except
for medical necessities and court appearances, or other activities specifically approved by the
court.

[| (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home
incarceration restrictions. However, you must comply with the location or travel restrictions as
imposed by the court. Note: Stand Alone Monitoring should be used in conjunction with global
positioning system (GPS) technology.

[| Pay all or part of the cost of location monitoring based upon your ability to pay as determined by the

pretrial services or supervising officer.

Defendant is subject to the following computer/internet and network restrictions which may include manual
inspection, and/or the installation of computer monitoring software, as deemed appropriate by Pretrial
Services. The defendant consents to Pretrial Services’ use of electronic detection devices to evaluate the
defendant’s access to wi-fi connections.
[| (i) No Computers - defendant is prohibited from possession and/or use of computers or
connected devices.
(ii) Computer - No Internet Access: defendant is permitted use of computers or connected devices,
but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging,
etc);
(iii) Computer With Internet Access: defendant is permitted the use of ONE computer or connected device |

and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging,
etc.) unless permission is granted by Pretrial Services.

(iv) Consent of Other Residents -by consent of other residents in the home, any computers in the home
utilized by other residents shall be approved by Pretrial Services, password protected by a third party
custodian approved by Pretrial Services, and subject to inspection for compliance by Pretrial Services.
Home computer networks are subject to inspection for compliance by Pretrial Services.

Do not use or possess any identification, mail matter, access device (including but not limited to, credit and debit cards), or any identification-related
Other: material other than in your own legal name without prior permission from Supervising Agency. Possess and use only the ONE digital device, ONE
email account, screen usernames, social media accounts, messaging applications and cloud storage accounts, as well as any passwords or passcodes
for all such accounts, that you disclosed to Supervising Agency upon commencement of supervision. You must disclose any new accounts,
application, passwords or passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access,
view, obtain, store, or transmit digital data. Do not use or possess more any virtual currency wallet/account. Do not obtain or open any virtual
currency wallet/account.The defendant is limited to using one email account during the term of supervision. Any additional email accounts shall
require approval by the Supervising Agency The defendant shall be limited to using one smartphone which shall be approved by the Supervising
Agency prior to first use. The defendant shal! not use any programs or application that provide for end-to-end encrypted communications, such as
Telegram and Signal. The defendant shall provide the Supervising Agency with any requested financial information. Defendant is not to participate in
online gambling nor enter casinos/gambling establishments. The defendant shall not register, purchase, or maintain any internet domain names.
Case 2:24-mJ-12280-JBC Document11 Filed 11/19/24 Page 3 of 3 PagelD: 47

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment,
a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e.,
in addition to) to any other sentence you receive.
It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more ~ you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

Lacknowledge that I am the defendant in this case and that] am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed, I am aware of the penalties and sanctions set forth above.

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Defendant’s Signature

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Directions to the United States Marshal

7 The defendant is ORDERED released after processing.

[__} The United States marshal is ORDERED to keep the defendang in gustody yntil notified by the clerk or judge that the defendant has
posted bond and/or complied with all other conditions for relegse. [fstill gai cygtody, the defendant must be produced before the
appropriate judge at the time and place specified.

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Judicial Officer’s Signature
Hon, André M. Espinosa
Printed Name and Title

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DNJ-CR-019((REV. 1/09)(modified AO-199) Page 3
